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                           UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF MAINE

INRE:                                 )
                                       )
KENNETH M. FOSTER,                    )      CHAPTER 13
                                      )      CASE NO. 14-20991
                                       )
                      Debtor          )

***************************           )
KENNETH M. FOSTER,                    )
                                      )
                PLAINTIFF             )
                                      )        ADVERSARY PROCEEDING
vs.                                   )        No. 16-2033
                                      )
DIANE E. BURNS,                       )
                                      )
                DEFENDANT             )


                      JOINT PRETRIAL STATEMENT/PRETRIAL ORDER


         The parties to this proceeding submit the following Joint Pretrial Statement (“JPS”) and
agree that, upon the court’s endorsement, its terms shall govern pretrial proceedings.
I.       Pleadings:
         (a) The pleadings __X_ are ___ are not complete.
         (b) If the pleadings are not yet complete, the following additional pleadings are
anticipated: ____________________________________________________________________
_____________________________________________________________________________.
         (c) The parties __X_ agree ___ do not agree that the additional pleadings described in (b)
may be filed without motion or order. (Absent agreement, motion and order will be required to
the extent required by applicable rules.


II.      Statement of Legal Issues:
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                                             2
       1. Whether Defendant’s Motion to Enforce the state court Divorce Judgment violated the

           automatic stay.

       2. Whether Defendant’s Motion to Modify the Divorce Judgment to change the division of

           marital assets violated the bankruptcy automatic stay and/or Section 105.

       3. Whether Defendant’s amended state court filings, filing after service of the adversary

           proceeding, violate the automatic stay and/or Section 105.


       4. Whether Defendant’s actions were willful or malicious.

       5. Whether Ms. Burns at all times attempted to not violate the automatic stay, but instead

         worked to assert her legal rights to “modify” and/or to obtain redress in state court

         through actions which constitute actions under one or more of the sub-paragraphs of 11

         U.S.C. §362(b)(2), which sub-paragraphs delineate actions which do “not operate as a

          stay”. These include, but are not limited to, 11 U.S.C. §362(b)(2)(A)(ii), 11 U.S.C.

          §362(b)(2)(A)(iv), and/or 11 U.S.C. §362(b)(2)(B).



III.   Statement of Anticipated Factual Issues:
       1. What, if any, damages, including costs and legal fees, Plaintiff has incurred as a result
       of Defendant’s actions.
       2. Whether any claim for “damages” should be subject to mitigation by the conduct of
       the parties.


IV.    Jurisdiction.
       __X_ (a) This is a core matter, in its entirety, on which the bankruptcy court will enter
       final judgment.
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     ___ (b) This is a non-core matter, in its entirety, and the parties hereby state that the
     bankruptcy court     ___ has their consent ___ does not have their consent to enter final
     judgment.
     ___ (c) This adversary proceeding embraces core and non-core matters as follows:
     _______________________________________________________________________.
     As to those matters that are non-core, the bankruptcy court __X_has the parties’ consent
     ___ does not have the parties’ consent to enter final judgment.
     ___ (d) (Understanding that the distinction is of importance only if consent to
     bankruptcy court’s entry of final judgment is not provided) the parties disagree as to the
     core or non-core nature of the matters within this action as follows:
     ________________________________________________________________________


     The court will rule on the core/non-core character of claims forthwith. The parties may
     submit memoranda addressing those issues, if at all, within 14 days of the court’s
     endorsing this document.


V.   Jury Trial.


     __X_ (a) Neither party seeks a jury trial.


     ___ (b) The plaintiff demands a jury trial.


     ___ (c) The defendant demands a jury trial.


     ___(d) The parties __X_ agree ___ disagree re: jury entitlement.
     Disagreements re: jury entitlement will be addressed at the final pretrial conference and
     determined immediately thereafter, unless the parties request an initial pretrial conference
     in accordance with Part VIII below and convince the court that the issue should be
     resolved earlier.
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         (e) If a jury trial is warranted, the parties ___ consent ___ do not consent to jury trial in
         the bankruptcy court.


VI.      Disclosures.


         _X (a) The plaintiff shall have 14 days from the date of the court’s endorsement of this
         document to make initial disclosures, including disclosure of expert witnesses, if any.
         The defendant shall have 14 days thereafter to make initial disclosures, including any
         expert witnesses. Each party’s expert disclosure shall include the data or other
         information considered by the witness in forming the testimony; any exhibits to be used
         as a summary of or support for the testimony; the qualifications of the witness; the
         compensation paid or to be paid to the expert witness; and copies of any reports prepared
         by the expert. All reasonably anticipated objections to the testimony and all motions to
         limit testimony of an expert witness identified by an opposing party as an expert shall be
         filed with the court and served on the opposing parties within 14 days after the receipt of
         the expert designation required by this paragraph.
         ___ (b) The parties agree to a schedule for expert and non-expert disclosures as
         follows:
         ________________________________________________________________________
         ________________________________________________________________________
         ________________________________________________________________________
         ________________________________________________


VII. Discovery.


      (a) Discovery will be completed on or before March 3, 2017. Discovery shall be initiated
          sufficiently in advance of the deadline so as to be timely completed by the deadline. (The
          court will independently review the discovery deadline set by the parties and may shorten
          or extend it when endorsing this pleading, with or without prior notice.)

      (b) Electronic Discovery.
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        (1) Are specific provisions regarding the discovery of electronic information required?

        __yes __X_no __parties do not agree

        (2) If needed, the parties agree to proceed with the discovery of electronic information as
            follows:

_____________________________________________________________________________________________


        (3) If the parties cannot agree on the need for, or content of, provisions governing the discovery
            of electronic information, the parties respective positions are as follows:

_____________________________________________________________________________________________

_____________________________________________________________________________________________



VIII.   Stipulation. The parties, through counsel, shall engage in a good faith effort to stipulate
        to all facts and legal issues as to which there is no actual dispute. Counsel shall prepare a
        written stipulation, signed by all counsel, in a form satisfactory to permit the document to
        be marked as an exhibit and offered in evidence at trial.
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 ____ (a) All stipulations shall be filed with the Court no later than 21 days after the close
 of discovery.
        ____(b) All stipulations shall be filed with the court no later than
        __________________________________________________________________


 IX.    Joint Pretrial Memorandum. The parties shall file a Joint Pretrial Memorandum
        outlining legal issues pertinent to the case. To the extent they disagree as to
        controlling legal authority, the joint pretrial memorandum shall include a
        statement on each contested legal issue, detailing support for each party’s
        position. To the extent the parties are not in agreement as to factual issues, the
        joint pretrial memorandum shall include a statement of each party’s pertinent
        factual contentions and a summary statement of the evidence to be offered in
        support of each contention. The exhibit list and witness list required below must
        be incorporated into the Joint Pretrial Memorandum. The plaintiff is responsible
        for circulating a draft of the proposed pretrial memorandum to all parties
        sufficiently in advance of the filing deadline so as to permit other parties adequate
        time to review and respond to the plaintiff’s proposals. Other parties are
        responsible for timely providing pertinent information regarding facts, evidence
        and legal authority for their defenses and claims. If valuation is at issue, each
        party shall include its position on value in its recitations regarding contested facts.
        __x__ (a) After circulation and review, the parties shall file the joint pretrial
        memorandum no later than 28 days after the close of discovery.
        ____(b)    After circulation and review, the parties shall file the joint pretrial
        memorandum no later than:
        __________________________________________________________________


 X.     Exhibits/Witnesses/Experts.
         (a) Exhibits. During preparation of the Joint Pretrial Memorandum, all parties
        are to pre-mark and exchange copies of the exhibits they reasonably anticipate
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        offering at trial. In the absence of objection served and filed within 30 days of
        service, such exhibits will be received in evidence without further authentication.
        Pre-marking shall consist of clearly designating each proposed exhibit in the order
        of its probable presentation at trial. Plaintiff’s proposed exhibits shall be
        designated by number; defendant’s proposed exhibits shall be designated by
        letter. Copies of proposed exhibits shall be accompanied by a list of the exhibits
        with a brief identification of each. The exhibit list shall be included in the Joint
        Pretrial Memorandum.
        (b) Witnesses/Experts. In preparing the Joint Pretrial Memorandum, the parties
        are to exchange the names of all witnesses they intend to present at trial, together
        with a brief summary of the area of testimony each witness will address. The
        filing(s) may incorporate previously-made disclosures. All reasonably anticipated
        objections to the testimony and all motions to limit testimony of a witness
        identified by an opposing party shall be filed with the court and served on the
        opposing parties within 14 days after service of the witness list required by this
        paragraph.
        NOTE: Designation of a non-party witness on an opponent’s list of witnesses
        does not relieve a party of assuring the presence of that witness at trial if his or
        her testimony is desired.


 XI.    Pretrial Motions. All pretrial motions and motions for summary judgment shall
        be filed no later than _x__14 ___30 or ___ days after the expiration of the
        discovery period.


 XII.   Compliance. Failure to comply with the provisions of this order may result in the
        imposition of sanctions, monetary and non-monetary, including, without
        limitation, entry of an order denying the admission of exhibits, testimony of
        witnesses, or other appropriate sanctions where noncompliance has caused undue
        delay, expense and/or prejudice.
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 XIII.   Initial Pretrial Conference.


         Unless the parties specifically request an initial pretrial conference or the court,
         after reviewing the parties’ Joint Pretrial Statement considers that an initial
         pretrial conference would assist the expeditious resolution of the case, an initial
         pretrial conference will not convene.
         ___ The parties hereby request that the court schedule an initial pretrial
         conference.


 XIV. Final Pretrial Conference. Within 14 days after the close of discovery, plaintiff’s
         counsel shall schedule and send notice of a final, telephonic pretrial conference.
         The parties shall be prepared to discuss all matters relating to trial at the final
         conference.


 XV.     Alternative Dispute Resolution. Unless one or more of the parties requests it do
         so sooner, and requests an initial pretrial conference in accordance with Part XIII
         above, the court will consider alternative dispute resolution with the parties in the
         course of the final pretrial conference.
         __x_ The parties hereby request that the court consult with the parties to consider
         early employment of alternative dispute resolution processes.


 Dated December 20, 2016 by J. Scott Logan, counsel

 for the Plaintiff, Kenneth Foster


 Dated December 20, 2016 by Peter Hatem, counsel

 for the Defendant, Diane Burns


 ENDORSED AND ENTERED as an ORDER of the COURT

   /s/ Peter G. Cary
 ____________________________________                               December 21, 2016
                                                                 ________________________
 U.S. Bankruptcy Judge                                           Date
